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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION

  UNITED STATES OF AMERICA,

          Plaintiff,
  v.                                                              Case No: 3:11-cr-207-J-20JRK

  JENNA CRAWLEY,

        Defendant.
  ______________________________/

       NOTICE THAT THE FEDERAL DEFENDER’S OFFICE HAS SATISFIED THE
       REQUIREMENTS IMPOSED BY THE AMENDMENT 782 OMNIBUS ORDER

          The Office of the Federal Defender, by and through undersigned counsel, hereby

  gives notice that it has satisfied the requirements set forth in this Court’s Omnibus Order In

  Re: Amendment 782, United States Sentencing Guidelines, 6:14-mc-78-Orl-22 (“Omnibus

  Order”), and respectfully notifies this Court that it will not be filing a Motion for Sentence

  Reduction under Amendment 782 on behalf of Defendant Jenna Crawley.

          1.     The Omnibus Order authorizes the Office of the Federal Defender to represent

  defendants “who were sentenced in this district, whose sentencing guidelines were calculated

  under USSG § 2D1.1, and for whom relief under 18 U.S.C. § 3582(c)(2) and USSG § 1B1.10

  as a result of Amendment 782 may be warranted.” Omnibus Order at 1.

          2.     Pursuant to the procedures set forth in the Omnibus Order, U.S. Probation

  prepares an Amendment 782 Memorandum detailing the eligibility of such defendants to

  receive a sentence reduction under Amendment 782. Id. Upon receipt of Amendment 782

  Memorandum, the Federal Defender is required to inform the Court if a conflict prevents the
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  Office from representing the defendant, and in the absence of a conflict, “evaluate the

  defendant’s eligibility.” Id. at 2. If the Office “determines that a defendant is not eligible for

  relief, it shall so inform the defendant and take such steps as it deems necessary to comply

  with the applicable rules of professional conduct.” Id.

         3.      Undersigned counsel has received Probation’s Amendment 782 Memorandum

  concerning Defendant’s eligibility and has no conflict of interest that would prohibit this

  Office from representing Defendant.

         4.      However, based on undersigned counsel’s thorough and diligent review of the

  record, including Probation’s Amendment 782 Memorandum and Defendant’s original

  presentence investigation report, undersigned counsel cannot argue in good faith that

  Defendant is eligible for a sentence reduction under 18 U.S.C. § 3582(c)(2) and Amendment

  782 of the United States Sentencing Guidelines because the Court previously granted

  Defendant a two-level downward variance in anticipation of the retroactive drug amendment.

         5.      Undersigned counsel has conferred with and advised Defendant about

  probation’s memorandum, undersigned counsel’s professional opinion, this notice of

  satisfaction, and the right to proceed pro se.




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         Accordingly, the Office of the Federal Defender will not be filing a motion for

  sentence reduction under Amendment 782 on behalf of Defendant Jenna Crawley.

                                                        Respectfully submitted,

                                                        Donna Lee Elm
                                                        Federal Public Defender

                                                        /s/Adam Labonte
                                                        Adam Labonte
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                                                        Email: Adam_Labonte@fd.org
                                                        Counsel for Defendant


                                 CERTIFICATE OF SERVICE

         I hereby certify that on July 11, 2016, I electronically filed the foregoing Notice that

  the Federal Defender’s Office has Satisfied the Requirements Imposed by the Amendment

  782 Omnibus Order with the Clerk of the Court by using the CM/ECF system, which will

  send a notice of electronic filing to the Office of the United States Attorney.

                                                        /s/Adam Labonte
                                                        Adam Labonte
                                                        Federal Defender Attorney




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